      Dated: 6/18/2019




                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

IN RE:                                               )
                                                     )
JAMES ROBERT JACKSON, Jr.                            )   BK No. 19-01746-MH3-7
dba STONEWALL FARM                                   )
                                                     )
       Debtor(s).                                    )

  ORDER COMPELLING DEBTOR TO (1) FILE STATEMENTS AND SCHEDULES;
   AND (2) TO APPEAR AND SUBMIT TO EXAMINATION AT THE MEETING OF
                  CREDITORS PURSUANT TO 11 U.S.C. § 341

       This matter is before the Court upon the Trustee’s Motion to Compel Debtor to (1) File

Statements and Schedules; and (2) appear and submit to examination at the Meeting of Creditors

pursuant to § 341. It appears to the Court that good cause has been demonstrated for granting the

relief requested herein. Therefore,

       IT IS HEREBY ORDERED as follows:

       1.      The Debtor, James Robert Jackson, Jr., is compelled to and shall file with this

Court, statements and schedules within fourteen (14) days from the entry of this Order pursuant

to 11 U.S.C. § 521(a) and Rule 1007 of the Federal Rules of Bankruptcy Procedure

       2.      That the Debtor, James Robert Jackson, Jr., is compelled to appear and submit to

examination at the Meeting of Creditors on August 19, 2019 at 1:00 p.m. at Customs House, 701

Broadway, Room 100, Nashville, Tennessee 37203.




Case 3:19-bk-01746       Doc 23       Filed 06/18/19 Entered 06/18/19 14:35:20       Desc Main
                                      Document     Page 1 of 2
       3.      In the event the Debtor, James Robert Jackson, Jr., fails to comply with the terms

of this Order, the Trustee is authorized to file a motion requesting the Court to issue sanctions

against the Debtor in the amount of $100.00 per day for each day in which he fails to comply.

       4.      That the attorney for the Trustee shall serve a copy of this order on the Debtor and

to the U.S. Trustee and file proof of such service with the Court.

     THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
INDICATED AT THE TOP OF THE FIRST PAGE.

Submitted for Entry:

/s/ Erica R. Johnson
Erica R. Johnson (BPR No. 30939)
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Attorneys for Trustee




                                                                     This Order has been electronically
                                                                     signed. The Judge's signature and
                                                                     Court's seal appear at the top of the
                                                                     first page.
                                                                     United States Bankruptcy Court.

Case 3:19-bk-01746       Doc 23    Filed 06/18/19 Entered 06/18/19 14:35:20                 Desc Main
                                   Document     Page 2 of 2
